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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: RICHARD A BIGGS
       AMY L BIGGS
                                                               Case No.: 19-43110-can-13
                              Debtors

                                           Non-Govermental Bar Date: February 24, 2020
                                              Governmental Bar Date: June 13, 2020
                                                         Filed Date: January 12, 2024

                           NOTICE ALLOWING CLAIM AS AMENDED

   COMES NOW, the Standing Chapter 13 Trustee, who shows the Court that the following claim was
amended, and moves that the claim be allowed as provided herein:

   Address:                                                        Claim Amount: $27,617.93
   MIDFIRST BANK
   999 NW GRAND BLVD                                               Monthly Payment: $1,066.58
   OKLAHOMA CITY, OK 73118
                                                                   Principal Paid: $27,617.93
   Type: MORTGAGE CONDUIT PAYMENT (E)
                                                                   Balance Owed: N/A
   Court Claim No.: 25-2
                                                                   Account: 5370
   Trustee Claim No.: 21
                                                                   Percent to be Paid: N/A
   Claim Filed Date: 1/4/2024
                                                                   Interest Paid: $0.00
   Special Remarks: Direct
                                                                   Interest Rate: 0.00

    WHEREFORE, pursuant to Local Rule 3085-1 of the Western District of Missouri and Rule 3001(f)
of the Federal Rules of Bankruptcy Procedure, the Chapter 13 Trustee moves that this claim be allowed
as amended unless the debtor or a creditor files an objection to the claim and the Court enters an Order
sustaining the objection.


                                                    Respectfully submitted,
       January 12, 2024
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
     Case 19-43110-can13                Doc 238 Filed 01/12/24 Entered 01/12/24 12:07:24                                Desc
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                                                             NOTICE

Any response to the above Notice Allowing Claim must be filed within thirty (30) days of the date of this notice with
the Clerk of the United States Bankruptcy Court . Documents can be filed electronically at http://ecf .mowb.uscourts.gov.
A copy of such response shall be served electronically by the Court on the Chapter 13 Trustee and all other parties to the case
who have registered for electronic filing . Parties not represented by an attorney may mail a response to the Court at the
address below. If a response is timely filed, the Court will either rule the matter based on the pleadings , or set the matter for a
hearing. If a hearing is to be held, notice of such hearing will be sent to all parties in interest . For information about
electronic filing, go to http://www.mow.uscourts.gov. If you have any questions about this document , contact your attorney.

Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                     NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail and a certificate of service will
be filed thereafter:

MIDFIRST BANK (108869)

                                                                  /s/ Richard V. Fink, Trustee


                                                                                                            HP/Notice - Amended Claim
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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: RICHARD A BIGGS
       AMY L BIGGS
                                                               Case No.: 19-43110-can-13
                              Debtors

                                           Non-Govermental Bar Date: February 24, 2020
                                              Governmental Bar Date: June 13, 2020
                                                         Filed Date: January 13, 2024

                           NOTICE ALLOWING CLAIM AS AMENDED

   COMES NOW, the Standing Chapter 13 Trustee, who shows the Court that the following claim was
amended, and moves that the claim be allowed as provided herein:

   Address:                                                        Claim Amount: $7,035.08
   MIDFIRST BANK
   999 NW GRAND BLVD                                               Monthly Payment: $0.00
   OKLAHOMA CITY, OK 73118
                                                                   Principal Paid: $2,312.69
   Type: MORTGAGE ARREARAGE (PR)
                                                                   Balance Owed: $4,722.39
   Court Claim No.: 25-2
                                                                   Account: 5370
   Trustee Claim No.: 49
                                                                   Percent to be Paid: 100.00%
   Claim Filed Date: 1/4/2024
                                                                   Interest Paid: $0.00
   Special Remarks:
                                                                   Interest Rate: 0.00

    WHEREFORE, pursuant to Local Rule 3085-1 of the Western District of Missouri and Rule 3001(f)
of the Federal Rules of Bankruptcy Procedure, the Chapter 13 Trustee moves that this claim be allowed
as amended unless the debtor or a creditor files an objection to the claim and the Court enters an Order
sustaining the objection.


                                                    Respectfully submitted,
       January 12, 2024
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
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                                                             NOTICE

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Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                     NOTICE OF SERVICE

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be filed thereafter:

MIDFIRST BANK (108869)

                                                                  /s/ Richard V. Fink, Trustee


                                                                                                            HP/Notice - Amended Claim
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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: RICHARD A BIGGS
       AMY L BIGGS
                                                               Case No.: 19-43110-can-13
                              Debtors

                                           Non-Govermental Bar Date: February 24, 2020
                                              Governmental Bar Date: June 13, 2020
                                                         Filed Date: January 13, 2024

                           NOTICE ALLOWING CLAIM AS AMENDED

   COMES NOW, the Standing Chapter 13 Trustee, who shows the Court that the following claim was
amended, and moves that the claim be allowed as provided herein:

   Address:                                                        Claim Amount: $95.39
   MIDFIRST BANK
   999 NW GRAND BLVD                                               Monthly Payment: $0.00
   OKLAHOMA CITY, OK 73118
                                                                   Principal Paid: $95.39
   Type: INITIAL POST-PETITION ARREARAGE -
   MORTGAGE (PR)                                                   Balance Owed: $0.00

   Court Claim No.: 25-2                                           Account: 5370

   Trustee Claim No.: 10,021                                       Percent to be Paid: 100.00%

   Claim Filed Date: 1/4/2024                                      Interest Paid: $0.00

   Special Remarks: Direct                                         Interest Rate: 0.00


    WHEREFORE, pursuant to Local Rule 3085-1 of the Western District of Missouri and Rule 3001(f)
of the Federal Rules of Bankruptcy Procedure, the Chapter 13 Trustee moves that this claim be allowed
as amended unless the debtor or a creditor files an objection to the claim and the Court enters an Order
sustaining the objection.


                                                    Respectfully submitted,
       January 12, 2024
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
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                                                             NOTICE

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Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                     NOTICE OF SERVICE

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MIDFIRST BANK (108869)

                                                                  /s/ Richard V. Fink, Trustee


                                                                                                            HP/Notice - Amended Claim
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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: RICHARD A BIGGS
       AMY L BIGGS
                                                               Case No.: 19-43110-can-13
                              Debtors

                                           Non-Govermental Bar Date: February 24, 2020
                                              Governmental Bar Date: June 13, 2020
                                                         Filed Date: January 13, 2024

                           NOTICE ALLOWING CLAIM AS AMENDED

   COMES NOW, the Standing Chapter 13 Trustee, who shows the Court that the following claim was
amended, and moves that the claim be allowed as provided herein:

   Address:                                                        Claim Amount: $4,073.50
   MIDFIRST BANK
   999 NW GRAND BLVD                                               Monthly Payment: $0.00
   OKLAHOMA CITY, OK 73118
                                                                   Principal Paid: $951.23
   Type: MORTGAGE ADDITIONAL CHARGES (PR)
                                                                   Balance Owed: $3,122.27
   Court Claim No.: 25S1
                                                                   Account: 5370
   Trustee Claim No.: 50
                                                                   Percent to be Paid: 100.00%
   Claim Filed Date: 5/22/2020
                                                                   Interest Paid: $0.00
   Special Remarks:
                                                                   Interest Rate: 0.00

    WHEREFORE, pursuant to Local Rule 3085-1 of the Western District of Missouri and Rule 3001(f)
of the Federal Rules of Bankruptcy Procedure, the Chapter 13 Trustee moves that this claim be allowed
as amended unless the debtor or a creditor files an objection to the claim and the Court enters an Order
sustaining the objection.


                                                    Respectfully submitted,
       January 12, 2024
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
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                                                             NOTICE

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Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


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MIDFIRST BANK (108869)

                                                                  /s/ Richard V. Fink, Trustee


                                                                                                            HP/Notice - Amended Claim
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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: RICHARD A BIGGS
       AMY L BIGGS
                                                               Case No.: 19-43110-can-13
                              Debtors

                                           Non-Govermental Bar Date: February 24, 2020
                                              Governmental Bar Date: June 13, 2020
                                                         Filed Date: January 13, 2024

                           NOTICE ALLOWING CLAIM AS AMENDED

   COMES NOW, the Standing Chapter 13 Trustee, who shows the Court that the following claim was
amended, and moves that the claim be allowed as provided herein:

   Address:                                                        Claim Amount: $300.00
   MIDFIRST BANK
   999 NW GRAND BLVD                                               Monthly Payment: $0.00
   OKLAHOMA CITY, OK 73118
                                                                   Principal Paid: $0.00
   Type: MORTGAGE ADDITIONAL CHARGES (PR)
                                                                   Balance Owed: $300.00
   Court Claim No.: 25S2
                                                                   Account: 5370
   Trustee Claim No.: 51
                                                                   Percent to be Paid: 100.00%
   Claim Filed Date: 11/1/2023
                                                                   Interest Paid: $0.00
   Special Remarks:
                                                                   Interest Rate: 0.00

    WHEREFORE, pursuant to Local Rule 3085-1 of the Western District of Missouri and Rule 3001(f)
of the Federal Rules of Bankruptcy Procedure, the Chapter 13 Trustee moves that this claim be allowed
as amended unless the debtor or a creditor files an objection to the claim and the Court enters an Order
sustaining the objection.


                                                    Respectfully submitted,
       January 12, 2024
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
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be filed thereafter:

MIDFIRST BANK (108869)

                                                                  /s/ Richard V. Fink, Trustee


                                                                                                            HP/Notice - Amended Claim
